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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. Case No. 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendant.

 

 

ORDER
On May 26, 2021, defendant Jacob Anthony Chansley moved to reopen the detention
hearing and for pre-trial release. ECF No. 40. The Court hereby directs the Government to respond
to defendant’s motion by Friday, June 4, 2021. Any reply shall be filed no later than Friday,
June 11, 2021.

It is SO ORDERED.

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Date: May “ZZ 2021 _ ‘a2 Forti

Hon. Royce C. ‘Lamberth
United States District Judge
